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deciphered to suggest he was brought up on disciplinaiy charges, cleared of the charges after a

heai·ing, but told his conduct was annoying, unusual and lacking in judgment. He does not allege

the University imposed sanctions against him . There are no allegations in the case suggesting

damages would amount to more than $75,000 as required to establi sh jurisdiction based on diversity

of citizenship.

                                                  Conclusion

         Accordingly, this action is dismissed for lack of subj ect matter jurisdiction. The Court

certifies, pursuant to 28 U.S.C. § l 9 l 5(a)(3), that an appeal from this decision could not be taken in

good faith. 1

         IT IS SO ORDERED.




                                                   UNITED STATES DISTRICT JUDGE

Dated:   ()O!fo""' ).-, UJ{f
                      (




         28 U .S.C. § l 9 I 5(a)(3) prov ides :

                  An appeal may not be taken informa pauper is if the trial co mt certifies that it is not
                  taken in good faith.

                                                     -5-
